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                                                                     United States District Court
                                                                       District of Connecticut
                                                                      FILED AT NEW HAVEN
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                        IN THE UNITED STATES DISTRICT COUR~foberta D. Ta ora, Clerk
                          FOR THE DISTRICT OF CONNECTICUW            d:(      Deputy Clerk

  UNITED STATES OF AMERICA                           Case No.   J : J{ V\) jCf /~ c~:r G-)
                v.                                  FILED UNDER SEAL

  FAREEDKHAN                                        August 28, 2017



       AFFIDAVIT IN SUPPORT OF A COMPLAINT AND ARREST WARRANT

       I, Christopher Evans, being first duly sworn, hereby depose and state as follows:

                     INTRODUCTION AND AGENT BACKGROUND

       1.     I am a Special Agent employed by the Department of Homeland Security (DHS) I

Homeland Security Investigations ("HSI") and have been so employed since August 2008. Since

January 2015, I have been assigned to the Federal Bureau oflnvestigation's Joint Terrorism Task

Force ("JTTF"). Prior to this assignment, I attended the Federal Law Enforcement Training Center

in Glynco, Georgia. Before joining HSI, I served as a Naval Officer in the United States Navy

since March 1999. As a Special Agent with HSI, I have been involved in many investigations

involving national security, including leading such investigations, applying for and executing

search warrants, interviewing victims, interviewing suspects, and conducting arrests.        I have

gained experience through training in seminars, classes, and everyday work related to conducting

these types of investigations. I have also conducted complex financial investigations and the

debriefing of informants, cooperating witnesses, and defendants.

       2.     I am an investigative or law enforcement officer of the United States within the

meaning of Title 18, United States Code, Section 251 0(7) in that I am empowered by law to

conduct investigations of and to make arrests for offenses enumerated in Title 18, United States
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Code, Section 2516. I am the co-case agent on the investigation which is the subject of this

affidavit and have personally participated in the investigation concerning the violation of the

federal law listed in this affidavit.

        3.      As a result of my participation and information received from other law

enforcement officers, I am thoroughly familiar with the circumstances of the investigation and the

information set forth in this affidavit. The statements contained in this affidavit are based on: (1)

my personal participation in the investigation; (2) information provided to me by Special Agents

of the Federal Bureau of Investigations ("FBI") and other law enforcement personnel; (3)

information provided by witnesses and other sources of information, to include statements of the

defendant; (4) records and documents obtained during the course ofthe investigation; and (5) my

experience and training. Unless otherwise indicated, all conversations and statements described in

this affidavit are related in substance and part.

        4.      Based upon the facts set forth below, and as a result of my personal participation in

this investigation, I submit that there exists probable cause to believe, and I do believe, that

FAREED AHMED KHAN has committed a violation of Title 18, United States Code, Section

1001(a)(2)(false statements).

        5.      Because this affidavit is being submitted for the limited purpose of securing a

criminal complaint and arrest warrant, I have not included each and every fact regarding this

investigation. Rather, I have set forth only the facts necessary to establish probable cause to believe

that KHAN has violated Title 18, United States Code, Section 1001(a)(2).




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                                        THE DEFENDANT

        6.      FAREED AHMED KHAN was born in Karachi, Pakistan on December 9, 1957.

KHAN immigrated to the United States and subsequently became a Naturalized United States

Citizen on February 21, 2003. KHAN currently resides with his family in Connecticut.

                                       PROBABLE CAUSE

L       Summary of the Investigation

        7.      As detailed below, through the course ofthe investigation, agents learned that: (A)

the defendant expressed the belief that all Muslims should support jihad, including through fund-

raising; (B) cash that exceeded his income regularly was deposited into the defendant's bank

account, (C) this cash funded eBay accounts that were used to buy medical equipment that was

selected by a person in Pakistan; and (D) the defendant shipped this medical equipment to Pakistan,

falsifying the name of the intended recipient.

        8.     In an effort to investigate what- if any- correlation existed between these facts,

and to determine if they involved any terrorism-related activities or offenses, agents interviewed

KHAN. During the interview, agents asked KHAN about his affiliation with a certain Islamic

charitable organization (hereinafter "the charitable organization"), a non-profit with which KHAN

was deeply associated and for which he had fund-raised.

        9.     Based on these aforementioned facts, the agents sought to determine through the

investigation whether KHAN was embezzling funds from the charitable organization to purchase

equipment, and whether the overseas shipment of that equipment was intended to support any

terrorism-related activities or organizations.

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         10.      When interviewed by FBI agents, KHAN denied any affiliation with the charitable

organization and denied sending packages of medical equipment to Pakistan.

IL       The Confidential Human Source

         11.      In 2014, an FBI Confidential Human Source ("CHS") attended the charitable

organization's "family day" event at an amusement park. There, the CHS observed KHAN

working at a ticket counter wearing a distinctive scarf, which was identical to the scarves worn by

Palestinians featured on the international news at the time who spoke out against the conflict with

Israel. On one side of the scarf, there was an image of a holy mosque. On the other side, there

was an image of the Israeli flag with a large "X" over it. KHAN was the only representative of the

charitable organization wearing such a scarf.

         12.      The CHS asked KHAN why he wore such a scarf at a family event. KHAN advised

the CHS that he was protesting against Israel and was very angry about what Israel has done to his

fellow Palestinian Muslims. KHAN explained that the event provided him with a great opportunity

to show all Muslim people that Muslims needed to take action against Israel and that Muslims

should condemn Israel.

         13.      KHAN further explained to the CHS the need for all Muslims to support those who

are fighting for Islam. KHAN stated in sum and substance that Islam says that if you cannot

participate in jihad, 1 then you must support jihad with money, to help fund those who can



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  It should be noted that the word 'jihad" sometimes refers to an inner struggle, but is also used to refer to violence
committed as part of a holy war. In this context, the CHS understood KHAN to be referring to violent jihad because
(a) in providing his explanation, KHAN, who was speaking in Urdu, used the word "larta" when he spoke about


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participate - - and that if you cannot help support with money, you must, in your mind and heart,

hate all those who are against Islam. KHAN advised the CHS that he (KHAN) is not able to fight

so he helps jihad through money and funding. While making this comment to the CHS, KHAN

held up his hands with his palms up and looked to his left and right, gesturing to his surroundings,

in a manner that suggested that he was using the money he collected at that day's event for his

jihadi purposes.

         14.     From August 2014 to August 2015, the CHS attended approximately fifteen ofthe

charitable organization's events that were either led or attended by KHAN. During these events,

the CHS noted that KHAN's involvement with the charitable organization appeared to be

exclusively related to the collection of money. For example, in January 2015, one of the charitable

organization's leaders told the CHS that KHAN was in charge of all money collections and had

been in charge for a long time. In addition, during a regional meeting of the charitable organization

in January 2015, KHAN told another member of the organization that he (KHAN) had personally

raised $7,000 in cash through the charitable organization's 2013 back-to-school fundraiser that he

(KHAN) had organized.

IlL     Analysis ofKHAN's Bank Accounts

        15.      As part of the investigation, the FBI obtained records relating to Khan's bank

accounts. The records revealed significant unexplained cash deposits. Specifically, the total cash



fighting and according to the CHS, that term means physical fighting and (b) KHAN made reference to a section of
the Koran which is frequently used by radical Islamic extremists to justify violent jihad.



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deposited from March 2007 through July 2015 was over $200,000, which averages out to

approximately $25,000 annually. KHAN does not appear to have a legitimate source for these cash

deposits. KHAN's primary source of income is from his job as a mechanic at an automobile

service chain, for which he is paid by direct deposit biweekly and which amounts to approximately

$34,000 per year.

       16.     Based on KHAN's statement at the charitable organization's family day event, FBI

agents examined the cash deposits to determine if there was any correlation between the dates of

the deposits and the dates of the charitable organization's events. There were only two occasions

on which cash deposits appeared to correlate to the organization's events. Specifically, a 2014

family day event was held on August 2, 2014 and on August 31, 2014, $2,440 in cash was

deposited into KHAN's account. Similarly, as indicated above, KHAN stated that he raised $7,000

during the charitable organization's 2013 back -to-school fundraising campaign. Your affiant is

aware that this campaign generally begins in August before the school year and ends in September.

A review of KHAN's bank records indicated that between August 16, 2013, and September 30,

2013, $7,000 in cash in four installments was deposited into KHAN's account (i.e., $2,500 on

August 16, 2013; $1500 on September 16, 2013; $1,000 on September 25, 2013; and $2,000 on

September 30, 2013).

       17.    Moreover, several of the deposits were made into KHAN's account from other parts

of the country or world. Specifically, there were 13 deposits from November 2010 through August

2015 from outside of Connecticut, to include Texas, California and British Columbia.




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        18.    After reviewing KHAN's bank accounts, the FBI could not conclusively determine

the source of the funds that were deposited, whether KHAN was embezzling funds from the

charitable organization, or whether other people were depositing cash into KHAN's accounts.

IV.    Packages to Pakistan

        19.    The review of the cash deposits also revealed that much of that money appeared to

fund two eBay accounts (hereinafter "eBay account-1" and "eBay account-2") via PayPal. A

history of items purchased from these eBay accounts shows that more than 140 items were

purchased between December 2012 and September 2015. Records indicate that the total for all

items purchased was $49,040.31. A review of the descriptions of the items purchased revealed

that all but eight of these items were apparent medical/surgical equipment. For example, on

September 21, 2015, PayPal records show an "Olympus endoscope leakage tester" was purchased,

and on March 3, 2015, an "Olympus GIF-1 T140 Video Gastroscope Endoscopy Medical

Equipment, Endoscope" was purchased.

       20.     While KHAN paid for and received these items, the person who selected them was

located in Pakistan and is believed to be an individual (whose name is known by your affiant) who

resides at Near Islamia College, Karachi Sindh Pakistan 74800 (this individual hereinafter will be

referred to as "Individual A"). The investigation revealed that a single Yahoo email address is

registered to both eBay account-1 and eBay account-2, and that it is an active email account

subscribed to by Individual A (hereinafter referred to as "the Individual A Yahoo account").

According to eBay records, the shipping address for both eBay account-1 and eBay account-2 is

Individual A at KHAN's known residential address in Manchester, Connecticut (with the address

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indicating that packages are to be addressed to Individual A "c/o" [in care of] KHAN). The eBay

records also reveal that the IP address history for both eBay accounts resolve to both Manchester,

Connecticut and Pakistan. Similarly, the investigation has revealed that the IP address history for

the PayPal account associated with both eBay accounts indicates that the PayPal account has been

accessed from both Connecticut and Pakistan.

       21.     While the eBay items were sent to KHAN at his residence in Connecticut, KHAN

repackaged them and sent them to Individual A in Pakistan. Records from the United States Postal

Service ("USPS") show that, from 2010 through 2015, KHAN sent approximately 65 packages to

Pakistan addressed to either of two names, which are known to your affiant, and which your affiant

believes are false identities (hereinafter referred to as "Recipient-1" and "Recipient-2 ') at Near

Islamia College, Karachi, Pakistan. This listed address is associated with Individual A. The FBI's

review of postal records determined that KHAN listed "Hospital Equipment(s)" or "Miscellaneous

Hospital Equipment" as the description for each of these 65 packages and that he provided the

value of each package, with the aggregate reported value of all of the packages totaling $30,200.

       22.     On May 15, 2015, the USPS intercepted two international parcels destined for

Pakistan that KHAN had sent using his "Click-n-Ship" account. HSI conducted a border search

of the international packages that were shipped from KHAN (listing his Manchester, Connecticut

residential address) and addressed to Recipient-1 at the aforementioned Near Islamia College,

Karachi, Pakistan address. On the Customs Declaration Dispatch Note, the importer's email

address that was provided was the Individual A Yahoo account. The contents ofthe packages were



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inspected and were found to consist of surgical endoscopy equipment, which was consistent with

the "Misc. Hospital equipment's" description listed on the shipping label.

V.     KHAN's Interview with FBI

       23.     On or about June 26, 2015, KHAN responded to an FBI request for an interview.

The FBI wanted an opportunity to talk to KHAN in the hopes that he would explain his relationship

with the charitable organization, the various cash deposits made into his bank account, and his

numerous shipments of packages to Pakistan.

       24.     The FBI had recently interviewed one of KHAN's relatives in relation to telephonic

contact that the relative had with an individual involved in an unrelated JTTF investigation. During

that interview, the relative said that KHAN paid for his (the relative's) cell phone. The FBI told

KHAN that they wanted to speak to him about this issue. KHAN agreed to the interview and

arrived at the FBI office with a lawyer, who sat with him during the interview.

       25.     At the beginning of the interview, KHAN was advised that the agents were

conducting a counterterrorism investigation and that he could face criminal prosecution if he made

intentional false statements during the interview. Both KHAN and his retained attorney

acknowledged these admonishments and agreed to continue with the interview.

       26.     Agents asked KHAN about the charitable organization. Specifically, they showed

KHAN a news article concerning a woman who had been charged with providing material support

to a terrorist organization and the article reported that the woman supposedly had previously

received financial support from the charitable organization. The agents indicated that they would

be interested in pursuing any individuals who would seek to defraud or exploit organizations like

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the charitable organization by taking money from the organization for personal gam or m

furtherance of criminal or terrorist activity.

        27.     In response to the agents' questions, KHAN stated, among other things, that he was

not affiliated with the charitable organization or any of its subsidiaries, and was not involved or

affiliated with any community or religious charities. KHAN further advised that he had never been

employed by or volunteered for any charitable organization, to include the referenced charitable

organization. In addition, KHAN stated that he was not aware of any office or representative of

the charitable organization operating within Connecticut and that he did not maintain any

association with anyone from the charitable organization. KHAN asserted that he had never

collected any type of charitable donation on behalf of the referenced charitable organization or any

other charitable organization.

       28.     Agents also asked KHAN about his ties to Pakistan. In this regard, they asked about

any shipments that KHAN had sent to Pakistan. In response to these questions, KHAN stated that,

with the exception of shipping items such as clothing to his Pakistan-based brother and sister

(neither of whom is Individual A), he has never shipped any other item to anyone else in Pakistan.

VL     Federal Search of KHAN's Home, Phone and Facebook Account

       29.     Knowing that these statements were false, the FBI continued its investigation and,

on October 13, 2015, executed a federal search warrant upon KHAN's home, iPhone, and

Facebook account.

       30.     During the execution ofthe warrant at his home, agents seized numerous items that

confirmed KHAN's role in and association with the charitable organization. Specifically, agents

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seized a variety of items and materials directly and specifically related to the charitable

organization, including registration applications, documents/handbooks, vendor identification

badges, promotional materials such as pens and lanyards, and representative samples of hundreds

of flyers, banners and fundraising event advertisements.

       31.     The search of KHAN's cellular telephone revealed messages between KHAN and

Individual A that corroborate their dealings, including the shipments of packages.

       32.     Specifically, in exchanges dated January 20, 2015 through January 22, 2015,

KHAN and Individual A had the following exchange:

               FK:    2 boxes ship today under the name of [Recipient-!].
               IA:    ... please send tracking detail Thanks.

       33.     Similarly, on April 17, 2014, Individual A wrote the following to KHAN:

"Asmk ... bythe grace of God parcel reached Pakistan today will be clear tomorrow Inshallah. will

update later.... It is clearform custom they will hand over me Tomorrow Inshallah."

       34.    Likewise, on June 2, 2014, KHAN wrote to Individual A: "Let me know when you

receive." During this exchange, KHAN provided the tracking number of three parcels shipped to

the aforementioned address in Pakistan.

       35.    Communications recovered from KHAN's iPhone also indicated that he

communicated with his brother on at least one occasion about a shipment he (KHAN) sent to

Individual A. In addition, on one occasion in June 2015, KHAN asked Individual A to give his

(KHAN's) brother one thousand dollars and Individual A agreed to do so and later confirmed that

he had given money to KHAN's brother.


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VIL     Conclusion

        36.     Based on the foregoing information, there is probable cause to believe, and I do

believe, that FAREED KHAN has committed a violation of Title 18, United States Code, Section

1001(a)(2)(false statements). Accordingly, I request the issuance of a complaint and warrant

authorizing his arrest.

                                   REQUEST FOR SEALING

        3 7.   I further request that the Court order that all papers in support of this application,

including the affidavit and criminal complaint, be sealed until further order of the Court. These

documents discuss an ongoing criminal investigation that is neither public nor known to all of the

targets of the investigation. Accordingly, there is good cause to seal these documents because

their premature disclosure may give targets an opportunity to flee/continue flight from prosecution,

destroy or tamper with evidence, change patterns of behavior, notify confederates, or otherwise

seriously jeopardize the investigation.




                                  CHRISTOPHER EVANS
                                  SPECIAL AGENT
                                  HOMELAND SECURITY INVESTIGATIONS



       Subscribed and sworn to before me on          ----f--.A
                                                             -+~l----""'--'2.-. ~-----''    2017 at
Bridgeport, CT.
                                                                   /s/
                                              THE HONORABLE WlL    M I. GARFINKEL
                                              UNITED STATES MAGISTRATE JUDGE
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